%

__plaintiffs access to e-file:..

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 1 of 8

IN THE UNITED STATES DISTRICT COURT ,,,,...
FOR THE SOUTHERN DISTRICT OF TEXA Svat Dro u
ED

HOUSTON DIVISION

§ MAR 06 2074
PATSY E. CARMON and
KIMBERLEE E. CARMON

Nathan Ochsner Clerk of Court
Plaintiffs
V. 7 ° CIVIL CATION NO. 4:22-3534

CARRINGTON MORTGAGE
SERVICES, LLC.

Defendants

PLAINITFFS OBJECTION TO COURTS DENIAL
OF PLAINITFFS MOTION TO E-FILE

TO THE HONORABLE JUDGE ALFRED H. BENNETT:

COMES NOW, Pursuant to Fed. R. Civ, P 46, Tex. R. of Prff Conduct 3.02; 3.03 (a)
(2) Plaintiff(s) respectfully objects to this Court February 15, 2024 ORDER, denying the

1. Plaintiff contends that Courts recommendation will not provide an adequate
solution to the issue, as Defendants have disobeyed 3 Orders of the Court in 3
separate jurisdictions, including this Court. Harris County 61 District Court,
CFPB November 17, 2022 ORDER, and Temporary Injunction pending in this
Court

2. Plaintiff has consented to e-filing son September 6, 2022, when the plaintiff has

filed their case in state court, and began e-filing documents in state court.

‘- 3. ~Defendants Attorney-e filed it’s Carrington’s Mortgage Services General Deiialz— ~~ —--—— -
“Notice of Removal” on or about October 7, 2022, which plaintiffs received at the

same email address.

4, Itis not plaintiff's that have been inconsistent, it is the Defendants and their

attorneys whom have been inconsistent, The failure to serve the Defendant

~

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 2 of 8

Motion to File A Extension, and it’s Response caused severe prejudice to the
plaintiffs. Plaintiffs have moved to strike, the defendant’s response, and moved
for default.

5. See EXHIBIT O-5, The Plaintiffs also contend the Defendants Attorneys did not
serve to the plaintiff's its January 18, 2024 Response, in addition to filings not
received, in plaintiffs January 13, 2024 Motion.

6. Plaintiff seek special exceptions, as plaintiffs have the burden of cost of mailing
and postage, in addition to increased cost of litigation not planned for, pursuant to
admissible evidence of defendants failure OBEY Court Orders that have unfairly,
and improperly increased the cost of litigation for the plaintiff's, that plaintiffs are
allowed access to CM/ECF, in order, not to cause even further prejudice to the

plaintiff's case.

7. Plaintiff, again humbly ask, for permission, and approval from this Court, to gain
immediate access to CM/ECF in order to electronically file, and receive
documents by opposing counsel., as defendants have proven by their actions of _ .
selectively obeying Court Orders, that they will not comply, with all Court
ORDERS, as required by the Court.

Respectfully Submitted,

(iby Mine

Patsy E.Carmon
Pro-Se Litigant
SL, Sweetgum Shores
Houston, Texas 77044
(281) 454-5027

fee OR ee en ee ee mem ent tera nee (713) 588-8747---~ ete

kim.carmon@gmail.com

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 3 of 8

bile, O Hy )

bel Ci z (ha)
Pro-Se Litigant

13047 Sweetgum Shores
Houston, Texas 77044
(281) (706) 75-61

(713) 588-8747
kim.carmon@gmail.com

CERTIFICATE OF SERVICE
I herby certify that on the March 2, 2024, pursuant to the Federal of Civil Procedure, a

true and correct copy of the above and forgoing was served by electronic mail, and
certified mail number: 958907 1052700999577016 to the following:

Bradley, Arant, Boult, Cummings LLP-

Gabriella E. Alonso

1445 Ross Ave. Suite 3600 =~ oS : oo —
Dallas, Texas 75202

galonso@bradley.com

CERTIFICATE OF SERVICE
I herby certify that on the March 2, 2024 pursuant to the Federal of Civil Procedure, a

copy of the above and forgoing was served by email, as follows to the following:

John H. Patterson

..Bradley.Arant BoultCummings LLP yj ce
jpatterson@bradley.com .

1819 Fifth Avenue North

Birmingham, Alabama 35203-2104

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 4 of 8

2M2124, SAZAM Case '4:22-cv-CS AER BiH EES OPE GR CMSB EF (ROPE BO. age sror ee)

Kimberlee Carmon <kim.carmon@gmall.com>

Carmon et.al v. Carrington Mortgage Services, LLC (Doc# 31, $.D. Tex. 4:22-cv-
03534)

Patterson, Jon <jpatterson@bradley.com> Wed, Jan 31, 2024 at 1:57 PM
To: Kimberlee Carmen <kim.carmon@gmail.com>

Cc: "Alonso, Gabriella” <galonso@bradley.com>, "Dasrath, Nandita" <ndasrath@bradley.cam>,
"CARMONPATSY7 @gmail.com” <CARMONPATSY7 @gmail.com>, "Patterson, Jon” <jpatterson@bradiey.com>

Kim —

There is no certified mail receipt, nor does the certificate of service indicate that it was sent certified mail. As | set out
below, it was an oversight and it was inadvertent that it was not sent via regular mail or via e-mail.

(Quoted text hidden]

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 6 of 8

ie
— S Patsy E. Carmon

Pro-Se Litigant

13047 Sweetgum Shores
Houston, Texas 77044
(281) 454-5027

(713) 588-8747
kim.carmon@gmail.com

imberlee E. Carmon

Pro-Se Litigant

13047 Sweetgum Shores
Houston, Texas 77044
(281) (706) 75-61

(713) 588-8747

kim.carmon@gmail.com

CERTIFICATE OF SERVICE
I herby certify that on the March 2, 2024 pursuant to the Federal of Civil Procedure, a

true and correct copy of the above and forgoing was served by electronic mail, and
certified mail number: to the following:

Bradley, Arant, Boult, Cummings LLP-

Gabriella E. Alonso

1445 Ross Ave. Suite 3600

Dallas, Texas 75202

galonso@bradley.com

Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 7 of 8

CERTIFICATE OF SERVICE
I herby certify that on the March 2, 2024, pursuant to the Federal of Civil Procedure, a
copy of the above and forgoing was served by email, as follows to the following:
John H. Patterson
Bradley Arant Boult Cummings LLP
jpatterson@pbradley.com
1819 Fifth Avenue North
Birmingham, Alabama 35203-2104
Case 4:22-cv-03534 Document 36 Filed on 03/06/24 in TXSD Page 8 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

§
PATSY E. CARMON and

KDIMBERLEE E. CARMON
Plaintiffs
V. CIVIL CATION NO. 4:22-3534

CARRINGTON MORTGAGE
SERVICES, LLC.

Defendants
ORDER

On this date came for consideration, Plaintiffs MOTION TO EFILE, in the above-

entitled and numbered case.

~ The Court having considered Plaintiff's motion is of the opinion that the said motion be
and is hereby GRANTED.

IT IS THERFORE ORDERED, that the Plaintiffs be granted access to CM/ECF in

order to communicate with this Court, and file and receive document electronically.

SIGNED and ENTERED this day of , 2024

Date JUDGE PRESIDING

